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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

 UNITED STATES OF AMERICA                         §
                                                  §
 v.                                               §    CRIMINAL NO. 4:06CR16 RAS/DDB
                                                  §
 TRAVIS LOGAN HARRIS (3)                          §

                            REPORT AND RECOMMENDATION
                         OF UNITED STATES MAGISTRATE JUDGE

        Pending before the Court is the request for revocation of Defendant’s supervised release.

 After the District Court referred the matter to this Court for a report and recommendation, the Court

 conducted a hearing on February 12, 2015, to determine whether Defendant violated his supervised

 release. Defendant was represented by Bobbie Peterson. The Government was represented by Ernest

 Gonzalez.

        On October 19, 2006, Defendant was sentenced by the Honorable Richard A. Schell, United

 States District Judge, to a sentence of 76 months imprisonment followed by a 5-year term of

 supervised release, for the offense of Conspiracy to Manufacture, Distribute, or Possess with Intent

 to Manufacture, Distribute, or Dispense Methamphetamine.            Defendant began his term of

 supervision on January 28, 2011.

        On January 21, 2015, the U.S. Probation Officer filed a Petition for Warrant or Summons for

 Offender under Supervision (the “Petition”) (Dkt. 639). The Petition asserts that Defendant violated

 the following conditions of supervision: (1) Defendant shall not leave the judicial district without

 permission of the Court or probation officer; Defendant shall notify the probation officer ten days




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 prior to any change of residence or employment; (3) Defendant shall refrain from excessive use of

 alcohol and shall not purchase, possess, use, distribute, or administer any narcotic or any other

 controlled substance, or any paraphernalia related to such substances, except as prescribed by a

 physician; (4) Under the guidance and direction of the U.S. Probation Office, Defendant shall

 participate in any combination of psychiatric, psychological, or mental health treatment as deemed

 appropriate by the treatment provider; and (5) Defendant shall participate in a program of testing and

 treatment for drug abuse, under the guidance and direction of the U.S. Probation Office, until such

 time as Defendant is released from the program by the probation officer.

         The Petition alleges that Defendant committed the following violations: (1) On October 4,

 2014, Defendant traveled to Grapevine, Texas, without permission from his probation officer or the

 Court; (2) Defendant was terminated from his job on January 2, 2015, and he did not notify his

 probation officer; (3) On November 13, 2014, Defendant admitted he has been using K2, synthetic

 marijuana, since he was in the custody of the Bureau of Prisons and continued using while on

 supervised release. On November 13, 2014, Defendant admitted to using methamphetamine; (4) On

 January 6, 2015, Defendant failed to attend mental health treatment as directed; and (5) On

 December 29, 2014, January 3, 2015, and January 7, 2015, Defendant failed to submit a urine

 specimen for drug testing as directed.

         At the hearing, Defendant entered a plea of true to the alleged violations. Defendant waived

 his right to allocute before the district judge and his right to object to the report and recommendation

 of this Court. The Court finds that Defendant has violated the terms of his supervised release.




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                                       RECOMMENDATION
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            Pursuant to the Sentencing Reform Act of 1984 and having considered the arguments

     presented at the February 2, 2015 hearing, the Court recommends that Defendant be committed to

     the custody of the Bureau of Prisons to be imprisoned for a term of six (6) months with no

     supervised release to follow.
           SIGNED this 21st day of February, 2015.

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                                                ____________________________________
                                                DON D. BUSH
                                                UNITED STATES MAGISTRATE JUDGE




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